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 4
                                UNITED STATES DISTRICT COURT
 5
                               WESTERN DISTRICT OF WASHINGTON
 6                                       AT TACOMA

 7
     UNITED STATES OF AMERICA,                    )   No. CR14-5159 BHS
 8                                                )
                       Plaintiff,                 )
 9                                                )
                  v.                              )   ORDER GRANTING STIPULATED
10                                                )   MOTION TO CONTINUE TRIAL
     CARLOS VALDOVINOS-DIAZ et. al.,              )   DATE AND PRETRIAL MOTIONS
11                                                )   DEADLINE
                       Defendants.                )
12                                                )
13
            THIS MATTER having come before the Court on the parties’ stipulated motion
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     to continue the trial date and pretrial motions due date in this matter, and the Court
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     having considered the facts set forth in the motion and the records and files herein and
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     the statements from counsel made on the record on June 3, 2014, the Court finds as
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     follows:
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            1. The ends of justice served by granting this continuance outweigh the best
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     interests of the public and the defendant in a speedy trial. 18 U.S.C. § 3161(h)(7)(A).
20
            2. Proceeding to trial absent adequate time for the defense to prepare would
21
     result in a miscarriage of justice. 18 U.S.C. § 3161(h)(7)(B)(i).
22
            3. The defense needs additional time to explore all relevant issues and defenses
23
     applicable to the case, which would make it unreasonable to expect adequate
24
25
                                                                  FEDERAL PUBLIC DEFENDER
26                                                                     1331 Broadway, Suite 400
      ORDER - 1                                                              Tacoma, WA 98402
                                                                                 (253) 593-6710
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 1   preparation for pretrial proceedings or for trial itself within the time limits established
 2   by the Speedy Trial Act and currently set for this case. 18 U.S.C. § 3161(h)(7)(B(ii).
 3          4. Taking into account the exercise of due diligence, a continuance is necessary
 4   to allow the defendants the reasonable time for effective preparation of their defenses.
 5   18 U.S.C. § 3161(h)(7)(B)(iv). NOW, THEREFORE,
 6          IT IS HEREBY ORDERED that the trial date is continued from June 10, 2014,
 7   to September 16, 2014. The resulting period of delay up to and including September
 8   16, 2014, is hereby excluded for speedy trial purposes under 18 U.S.C. § 3161(h)(7)(A)
 9   and (B).
10          Pretrial motions are due no later than July 30, 2014 and a Pretrial conference is
11   set for September 8, 2014, at 9:00 a.m.
12          DATED this 3rd day of June, 2014.
13
14
15
16
                                                 A
                                                 BENJAMIN H. SETTLE
                                                 United States District Judge

17
18   Presented by:
19
     s/ Miriam Schwartz                             s/ Thomas Campbell
20   Attorney for Carlos Valdovinos-Diaz            Attorney for Rogelio Anaya-Reyes
21
     s/ Thomas Weaver                               s/ Jerrod Patterson
22   Attorney for Alfredo Valdovinos-Diaz           Attorney for the Government
23   s/ Ronald Ness
24   Attorney for Alejandro Estrada-Perez

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                                                                   FEDERAL PUBLIC DEFENDER
26                                                                      1331 Broadway, Suite 400
      ORDER - 2                                                               Tacoma, WA 98402
                                                                                  (253) 593-6710
